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STATE OF CALIFORNIA

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DEPARTMENT OF THE INTERIOR C. H. PURCELL, DIRECTOR OF PUBLIC WORKS CALIFORNIA-SAN DIEGO CO. °
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DECLINATION, 1948
THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS EDITION OF 1949

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